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Case 2:12-cV-05458-.]AK-OP Document 1 Filed 06/22/12 Page 1 of 9 Page |D #:4

@©11@\1

G. Thomas Martin, III, ES . (SBN 218456) ”‘~
PRICE LAW GROUP, A C 1
15760 Vcntura Blvd., Suite 1100 §
Encino, CA 91436 `
T: (818) 907- 203(}; F: (818) 205~ 2730 1
tom@piglawfinn. com 1

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Attorne for Plaintiff, z
.TE BROWN r,_

_QS¢Z

UNITE]) STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

§§

 

JENNY BROWN COMPLAINT AND DEMAND FOR
. . JURY TRIAL
Plalntiff,
VS (Un}awful Debt Collection Practices)

Demand Does Not EXceed $10,000
KENTWOOD LAW GROUP; and

DOES 1 to 10, inciusive,
Defendant.

 

 

COMPLAIN'I`
INTRO})UCTION
1. Plaintiff JENNY BROWN brings this action to secure redress from
unlawful credit and cciiection practices engaged in by Bef`endant KENTWOOD
LAW GROUP; and DOES 1 to 10, inclusive `Plaintiff alleges violation of the Fair
Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and the
Rcsenthal Fair I)ebt Ccliecticn Practices Act, Caiifornia Civil Ccde § 1788 et seq.

(“RFDCPA”).

COMPLAINT

 

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VENUE AND JURISDICTION
2. This Court has jurisdiction under 15 U.S.C. §16921< (FDCPA) and 28
U.S.C.§§1331,1337 and 1367.
3. Venue and personal jurisdiction in this District are proper because:
a. Defendant’s collection communications Were received by plaintiff
Within this District;
b. Defendant does or transacts business Within this District.
PARTIES
4. Plaintiff JENNY BROWN is an adult individual Who resides in
Thousand Oai<s, California and is a "consurner" as defined by the FDCPA, 15
U.S.C. § 1692a(3) and is a "debtor" as defined by Cal. Civ. Code § 1788.2(11).
5. Defendant is a company based in Montciair, CA.
6. At ali relevant times herein, Defendant KENTWOOD LAW GROUP
Was a company engaged, by use of the mails and telephone, in the business of

collecting a debt from Piaintiff Wbich qualifies as a "debt," as defined by 15 U.S.C.

'§1692a(5), and a "consumer debt," as defined by Cal Civ Code § 1788.2(£).

Dei:`endant regularly attempts to collect debts alleged to be due another, and
therefore is a "debt collector" as defined by the FDCPA, 15 U.S.C.§ 1692a( 6), and

the RFDCPA, Cai Civ Code § 1788.2( c).

COMPLAI`NT

 

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E_A_C._'I_S_
7. Defendant attempted to collect front plaintiff an alleged debt incurred
for personal, family or household purposes and not for business purposes
8. Within the 1ast year, Defendant constantly and continuously called
Plaintit`t` With the intent to annoy and harass her into paying an alleged debt.
9. g Defendant contacted Plaintift` s husband With regards to the Plaintit`i’ s
debt and disclosed the existence of Plaintiff” s debt to hint
COUNT I - FDCPA
ll. Plaintiff incorporates paragraphs 1 - 10.
12. Det`endant thereby violated the following provisions of the FDCPA:
i) 15 U.S.C. §16920(b)
ii) 15 U.S.C. §1692d(2);
iii) 15 U.S.C. §1692e(5);
iv) 15 U.S.C. §1692e(10)',
v) 15 U.S.C. §1692£(1);
vi) 15 U.S.C. §16921`(2).
13. Section 1692c(b) states in relevant part that:
COMMUNICATION WITH THIR}) PAR'I`IES. Except as provided in
section 1692b of this title, without the prior consent of the consumer
given directly to the debt collector, or the express permission of a court
of competent jurisdiction, or as reasonably necessary to effectuate a

postjudgment judicial remedy, a debt collector may not communicate,
in connection With the collection of any debt, With any person other than

COMPLAINT

 

 

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the consumer, his attorney, a consumer reporting agency if otherwise
permitted by law, the creditor, the attorney of the creditor, or the
attorney of the debt collector.

14. Section 1692d(2) states in relevant part that:

“(d) A debt collector may not engage in any conduct the natural
consequence of Which is to harass, oppress, or abuse any person in
connection With the collection of a debt. Without limiting the general
application oi` the foregoing, the following conduct is a violation of this
section:

(2) rI`he use of obscene or profane language or language the natural
consequence of which is to abuse the bearer or reader.

15 . Sections 1692e(5) and e(10) state in pertinent part that:

A debt collector may not use any false, deceptive, or misleading
representation or means in connection with the collection of any debt.
Without limiting the general application of the foregoing, the following
conduct is a violation of this section:

(5) The threat to take any action that cannot legally be taken or that is
not intended to be taken. `

(10) 'I`he use of any false representation or deceptive means to collect or
attempt to collect any debt or to obtain information concerning a
consumer.

16. Section 16921`(1) and 1(2) states in pertinent part:

A debt collector may not use unfair or unconscionable means to collect
or attempt to collect any debt. Without limiting the general application
of the foregoing, the following conduct is a violation

of this section:

(1) The collection of any amount including any interest, fee, charge, or
expense incidental to the principal obligation) unless such amount is
expressly authorized by the agreement creating the

debt or permitted by law.

COMPLAINT

 

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(2) rj{`he acceptance by a debt collector from any person of a check or
other payment instrument postdated by more than five days unless such
person is notified in Writing of the debt collector's intent to deposit such
check or instrument not more than ten nor less than three business days
prior to such deposit

COUNT II »-- RFDCI’A
17. Plaintiff incorporates paragraphs 1 - 16.
18. Defendant thereby violated the following provisions of the RFDCPA:
i) Ca_l. Civ. Code § 1788.13@)
ii) Cal. Civ. Code § 1788.1'7.
19. Sections 1788.13(]) state in pertinent part that:

1788.13. No debt collector shall collect or attempt to collect a
consumer debt by means of the following practices:

(j) The false representation that a consumer debt has been, is about to
be, or will be instituted unless payment of a consumer debt is made;

20. Seotions 1788.17 states in pertinent part as follows

“1788.1'7. Notwithstanding any other provision of this title, every
debt collector collecting or attempting to collect a consumer debt
shall comply with the provisions of Sections 1692b to l692j,
incinsive, of, and shall be subject to the remedies in Section 1692k
of, Title 15 of the United States Code. However, subsection (11) of
Section 1692e and Section 1692g shall not apply to any person
specified in paragraphs (A) and (B) of subsection (6) of Section
1692a of Title 15 of the United States Code or that person's
principal. 'I`he references to federal codes in this section refer to
those codes as they read January 1, 2601.

COMPLAINT

 

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WIIEREFORE, the Court should enter judgment in favor of plaintiff
and against defendant fort

(l) Statutory and actual damages;

(2) Attorney’s fees, litigation expenses and costs of suit;

(3) Such other and further relief as the Court deems proper.

`DEMAND FOR JURY TRIAL

PLEASE TAKE NOTICE that Plaintii`t` JENNY BROWN demands trial by

jury in this action.

RESPECTFULLY SUBMITTED,
PRICE LAW GROUP APC

 

DATED: lane 20, 2012 By:

 

G. Tbomas Martin, 111
Attorney for Plaintit`f

 

COMPLAINT

 

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G. Thomas l\/lartin, III (SBN 218456)
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UNI'I`ED STA'l`ES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JENNY BROWN cAsa NUMBER

l _,»;r re
_ § re sgt
i>LAiNrIFF(s) § §§ il pt »~

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V.

KBNTWOOD LAW GROUP; and DOES l to 10,
inclusive,

 

SUMMONS

DEFENDANT(S) .

 

 

TO: DEFENDANT{S):

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached lilcomplaint l;l amended complaint
l:| counterclaim l:l cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. 'l`be answer
or motion must be served on the plaintift" s attorney, G. ThOmaS Mal“'€il'l, ill (SBN 213456) , whose address is
15760 Ventura Bouievard, Suite 1100; Encino, California 91436 _ §§ you fail to do 503

judgment by default will be entered against you for the relief demanded in the complaint You also must tile
your answer or motion with the court ~

JUN 2 2 2312 clerk,o.s.Disaicicom

Datcd: By: l § l lAvdl
Deput C
(Seal off _ ourt)

[Use 60 days §fthe defendant is the Uni!ed States or a Um'£ed States agency or is an ojicer or employee Ofihe Urr.ited States Allowed
60 days by Ra!e 12(a)(3)].

 

CV~GlA {lO/ll SUMMONS

Case 2:12-CV-05458-.]AK-OP Document 1 Filed 06/22/12 Page 8 of 9 Page |D #:11

UNITED STATES })ISTRIC'I` @T@Fé§p. D\H§':FRICT GF CALIFORNIA
C CO SI ET

 

 

I (2) PLAZNTIFFS {Check box z'€you are representing yourself [3} DEFENDANTS
IENNY BROWN KENTWOOZ) LAW GROUP', and DOES l to 10, inc§osive,
VENTURA COUNTY SAN BERNARDINO COUNTY

(b) Attorneys (F§rm Name, Address and Telephone Number. if you are representing Attomeys (If Kriown)

yourse%f, provide same.)

G, Thomas Martin, I{I (SBN 218456)
PRICE LAW GROU?, APC
55760 Veniura Blvd., #1100, Encino, CA 91436; 'i`: {818) 907-2030

 

 

II. BASIS OF JURISDICTIC)N (Place an X in one box only.} III. CITIZENSHIP GF PRINCIPAI.. PARTIES - For D§versity Cases On§y
(Place an X in one box for piaintifi" and one for defendant.)
C| i U.Sr Government Plaintiff iii 3 Fec§eral Qiiestion (U.S. PTF DEF PTF DEF
Govcrnmenz Not a Party) Citizen of'l`his State l3 1 |:| i Incorporated cr Princ§pal Place l`_'i 4 l.`_l 4
of Bizs§ness in this State
El 2 U.S. Government Defendant IIJ 4 Diversity {indicate Citlzenship C§tizen of Another State Cl 2 l:l 2 incorporated and Priricip~al Place El 5 ij 5
of Pas‘t§es in Item ill) of Business in Another State
Ci'tizen or Subject of a Foreign Country ill 3 l;} 3 Foreign Nation ij 6 [Il 6

 

 

IV. ORIGIN (Place an X in one box only`)

N(l Origizial l:} 2 Removed from 313 3 Rer,aanded from i:] 4 Reinstated or [] 5 Transi`erred from another district {specify): €J 6 Multi~ L',i` 7 Appeal to D§strict
Proceeding State Court Appellate Court Recpened District lodge from
Litigation Magistrate _h.idge

 

V. REQUESTEI) IN COMPLAINT: JURY I)EMAN`D: E/'Y'es ij No (Check ‘Yes’ only if demanded in compiaint.)
cLAss ACT;oN under F.R.c.P. 23: i:i Yes o(i~io siMONsv oEMANDsi) iN coMPLAlNTr s Accordins to PrOOf (<$l@,@@@)

VI. CAUSE OF ACTION (Cite the UvS. Civil Statute under which you are filing and write a brief s€atement of causel Do not cite jurisdictional statutes uniess diversily.)
15 USC 1692; UN`LAWFUL DEBT COL{,ECTION PRAC"§`ICES

VII. NATURE OF SUI'I` (Placc an X in one box oriiy.]

 

 

 

   

 

  

  

 
 
   
   

 

       

 

    

       

 

  
  

 

 

  

   
 
   
   

 

   

    

   

 

   

 

 

 

 

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FOR OFFICE USE ONLY: Cese Number: ~

 

 

AFT‘ER COMPLETING THE FRON'I' SH)E OF FORM CV»'H, COMPLETE 'I`HE INFORMA'I`ION REQUESTED BELOW.

 

cv_ii (05/08)

CIVIL COVER SHEET

Page § oil

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UNITED S"I`ATES DISTRICT COUR'§`, CENTRAL DISTRICT OF CALIFORNIA
ClVIL COVER SHEET

Vlll(a). IDENTICAL CASES: Has this action been previousiy filed in this court and dismissed remanded or closed? [E/No 121 Yes
if yes, list case numbcr(s):

 

VIII(b). RELATED CASES: Have any cases been previously died in this court that are related to the present case? i§(No 111 ch
Ifyes, list case number{s):

 

Civil cases are deemed reinted ita previously liled case and the present case:
(Check all boxes that appiy) 111 A. Arise from the same or c§cseiy related transactions happenings, or events', or
113 B. Call for determination of tire same or substantially related or similar questions ofiaw and fact; or
13 C. For other reasons would entail substantial duplication of labor ifheard by different judges; or
1111 D. Involve the same patent, trademark or copyright grid one of the factors identified above in a, b or c also is present

 

IX. VENUE: (When completing the following infon'nation, use an additional sheet if necessary.)

(a) List the County in this District', California County outside of this Distr§ct; State if other than Calif'omia‘, or Foreign Country, in which EACH named plaintiff resides
13 Check here if the government its agencies or employees is a named plaintin If this box is citeciced, go to item (b).

 

Courity in this District:* Caiifornia County outside of this District', State, if other than Caiil`omia; or Forcign Couniry

 

VENTURA COUNTY

 

 

 

 

(b) List the County in this District', California Courity outside of this District; Statc if other titan California‘, or Foreign Country, in which EACH named defendant resides
13 Check here if the go\.'ernriit=:rit1 its agencies or employees is a named defendant if this box is checkedd go to item (c).

 

Courrty in this Distri'ct:”t - California Coizrity outside of this District', State, if other than California; or Fereign Country

 

SAN BERNARDINO CGUN'FY

 

(c) List the County in this District‘, Califomia County outside of this District; State if other than California; or Poreign Country, in which EACH claim arose.
Note: hi land condemnation cases, use the Eocation of the tract eiland involved.

 

County in this District:* California Courity outside of this Dr'strict; Statc, if other than Ca§ifomia; or Forcign Country

 

VENTURA COUNTY

 

 

 

 

* Los Angeles, Orange, Sari Bernardino, Riverside, Ven .* _
i\iote: In land condemnation cases use the location of the tra j;j:»

  

ago Sa Luis Obispo Countics
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Netice to Counscl/Pariies: 'I`he CV-‘ll {18-44} Civil Covcr Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. 'l`his fonn, approved by the ioriiciai Conference o£the United States in Septembcr 1974, is required pursuant to.i.ocai Rule 3~1 is not filed ,
but is used by the Clerk of the Court for the purpose ofstati'stics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet,}

 

Key to Statisticat codes relating to Socia§ Security Cases:

Nature efSuit Code Abbreviation Substantive Statement of Cause of Action

861 HZA Aii claims for health insurance benefits (Medicare) under "l`itle 18, Part A, of the Social Security Act, as amended
Also, inc§ucie claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
prograin. (42 U.S.C. §935FF(b})

862 BL All claims for “Blaclc i_,ung” benefits under Tit§e 4, Part B, of the Federal Coal Mine liealth and Safety Act of 1969.
(30 U.S.C. 923)

863 DTWC All ciaims filed by insured workers for disability insurance benefits under Tr'tle 2 of the Social Security net1 as
amended; plus aii claims filed for child’s insurance benefits based on disability {42 U.S.C. 405(g})

863 BIWW Ai! claims filed for widows or widowers insurance benefits based on disability under Title 2 ofthe Sociai Security
Act, as amended (42 U.S.C. 40S(g))

864 SSID All claims for supplemental security income payments based upon disability fited under 'i`itle §6 of the Socia] Security
Act, as amended

865 RSI All claims for retirement (olr.i age) and survivors benefits under "l`itle 2 ofthe Social Security Act, as amended (42
U-SVC- (s)i

 

CV-‘il (05/08) CIVIL COVER SHEET Page 2 of 2

